Case 2:18-cv-00135-JRG Document 496 Filed 07/03/19 Page 1 of 2 PageID #: 47457




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

FRACTUS, S.A.,                                     §
                                                   §
               Plaintiff,                          §
                                                   §   CIVIL ACTION NO. 2:18-CV-00138-JRG
v.                                                 §
                                                   §
VERIZON COMMUNICATIONS INC.,                       §   CIVIL ACTION NO. 2:18-CV-00135-JRG
CELLCO PARTNERSHIP D/B/A                           §   (LEAD CASE)
VERIZON WIRELESS,                                  §
                                                   §
               Defendants.                         §


                                                ORDER

        Before the Court is Fractus, S.A.’s (“Fractus”) Partially Opposed Renewed Motion to

 Amend Docket Control Order (the “Motion”). (Dkt. No. 485.) In the unopposed portion of its

 Motion, Fractus seeks a limited extension of the fact discovery deadline in Case No. 2:18-cv-138-

 JRG, which is consolidated under Case No. 2:18-cv-135-JRG, in order to take fact discovery

 relevant to products accused of patent infringement in that case, as ordered by the United States

 District Court for the Southern District of New York. (Id. at 1.) In the opposed portion of its

 Motion, Fractus seeks a limited extension of the expert discovery deadline in order to incorporate

 the results of such limited fact discovery into supplemental expert reports. (Id. at 2.) Fractus further

 requests that the Court expedite briefing on its Motion. (Id. at 5.)

        Having considered the Motion, the Court is of the opinion that the unopposed portion of

 the Motion should be and hereby is GRANTED. It is therefore ORDERED that the fact discovery

 deadline in Case No. 2:18-cv-138-JRG is extended up to and including Friday, July 12, 2019, for

 the limited purpose of conducting discovery ordered by the Southern District of New York. (See

 Dkt. No. 432-1.)
Case 2:18-cv-00135-JRG Document 496 Filed 07/03/19 Page 2 of 2 PageID #: 47458



    .
        It is further ORDERED that any responsive briefing in opposition by Defendants or

Intervenor-Defendants to the opposed portion of the Motion shall be filed no later than Monday,

July 8, 2019, at 2:00 p.m. No reply or sur-replies in support of or in opposition thereto shall be

filed without leave of the Court.

        The opposed portion of Fractus’s Motion (Dkt. No. 485) remains pending before the Court

and is CARRIED.

        So ORDERED and SIGNED this 3rd day of July, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




                                                2
